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AO 245D-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case for Revocation



                                   United States District Court
                                           Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                     v.                                                   (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
              NATHANIEL JONES
                      (Defendant’s Name)                                  Criminal Number: 1:92CR05264-002


                                                                          Francine Zepeda
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U] adm itted guilt to violation of charges 1 and 2 as alleged in the violation petition filed on 1/23/2013.
[]  was found in violation of condition(s) of supervision as to charge(s)     after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):

Violation Number                     Nature of Violation                                     Date Violation Occurred
Charge 1                             Unlawful Use of a Controlled Substance                  11/23/2012
Charge 2                             Possession of a Controlled Substance                    12/19/2012



The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on 12/13/1993 .

       The defendant is sentenced as provided in pages 2 through 2 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.

[]       Charge(s)        is/are dism issed.


         Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid.

                                                                                                4/8/2013
                                                                                    Date of Im position of Sentence


                                                                                      /s/ LAW RENCE J. O’NEILL
                                                                                      Signature of Judicial Officer


                                                                       LAW RENCE J. O’NEILL, United States District Judge
                                                                               Nam e & Title of Judicial Officer


                                                                                                 4/9/2013
                                                                                                   Date
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AO 245B-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
CASE NUMBER:              1:92CR05264-002                                                               Judgment - Page 2 of 2
DEFENDANT:                NATHANIEL JONES



                                                        IMPRISONMENT
         The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
total term of 12 m onths .




[]      No TSR: Defendant shall cooperate in the collection of DNA.

[]      The court m akes the following recom m endations to the Bureau of Prisons:




[U]     The defendant is rem anded to the custody of the United States Marshal.


[]      The defendant shall surrender to the United States Marshal for this district.
        [ ] at     on     .
        [ ] as notified by the United States Marshal.


[]      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        [ ] before on        .
        [ ] as notified by the United States Marshal.
        [ ] as notified by the Probation or Pretrial Services Officer.
        If no such institution has been designated, to the United States Marshal for this district.


                                                               RETURN
I have executed this judgment as follows:




        Defendant delivered on                                      to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                Deputy U.S. Marshal
